                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF KANSAS

ANGELIINA LYNN LAWSON,

Plaintiff,

V.

Hon. ERIC W. GODDERZ,

Hon. TAYLOR J. WINE,

Hon. JOHN BRYANT (in their official and individual capacities),

and STATE of KANSAS,

Defendants.

                                                                Case No. 2:25-cv-02199-TC-TJJ
                                                               Hon. Toby Crouse, District Judge
                                                               Magistrate Judge Teresa J. James

                                                                               JURY DEMAND



SUPPLEMENTAL NOTICE OF EXHAUSTION OF ADMINISTRATIVE REMEDIES
FORTRO

COMES NOW Plaintiff, Angeliina Lynn Lawson, Pro Se, and submits this Supplemental Notice
to further document exhaustion of administrative remedies and the futility of alternative relief
avenues, in support of her claims under 42 U.S.C. § 1983, Title II of the ADA, and related
constitutional violations.

     1. On or about Dec 19, 2024, Plaintiff engaged in extensive discussions with representatives
        of the Federal Bureau of Investigation (FBI) regarding systemic ADA violations, judicial
        misconduct, and deprivation of access to the courts under color of law.
     2. On April 25 , 2025, FBI agent Bryan responded via email, stating only:

"Received. Please keep in mind my guidance from our extensive discussion on April 8th. I
continue to encourage you to have an attorney to guide you through the litigation and help you
understand all the decisions and your appeal rights." (Exhibit H)
   3. The FBI's response failed to address, acknowledge, or investigate the underlying
      constitutional and statutory violations presented, despite Plaintiff providing specific
      evidence of ADA discrimination, judicial fraud; procedural sabotage, and systemic denial
      of access to court processes.
   4. The FBI's passive response effectively confirms that no meaningful administrative
      remedy is available to Plaintiff at the federal investigatory level, and that further pursuit
      of internal grievance mechanisms would be futile.
   5. Plaintiff submits this correspondence as additional evidence that she has exhausted
      reasonable administrative channels for relief, and that federal judicial intervention is now
      necessary to prevent irreparable harm and ongoing constitutional deprivation.
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WHEREFORE, Plaintiff respectfully asks that the Court take judicial notice of this Supplemental
Notice as further grounds for denying any abstention or dismissal argumen~ base4 on premature
claims or failure to exhaust remedies.
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                                                                                            Dated: April 26, 2025




~geliina Lynn_Lawson ,

Pro Se Plaintiff


                                 CERTIFICATE OF SERVICE

I hereby certify that on April 26, 2025,,I electronically filed tlle foregoing document entitled"
SUPPLEMENTAL NOTICE OF EXHAUSTION OF ADMINISTRATIVE REMED,IES
FOR TRO" with the Clerk of the Court for the United States District Court for the District of
Kansas.
                                                               ~           ;        •   l                      '


Because this is an ex parte emergency motion, no service has been made upon the Defendants .or
their counsel at this time. Plaintiff respectfully requests the Court to rule on ~e. motion prior to
requiring service, pursuant to the applicable Federal Rules of Civil Procedure.

                                                                           , Dat~4: April 26, 2025




Angeliina Lynn Lawson
Pro Se Plaintiff
